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  AO 83 (Rev. 06/09) Summons in a Criminal Case


                                         UNITED STATES DISTRICT COURT
                                                                  for the
                                                        SouthernDistrict
                                                    __________   Districtofof__________
                                                                              Iowa

                     United States of America                        )
                                v.                                   )
                     MacKenzie Ann Meggison                          )
                                                                     )      Case No. 1:23-cr-00050
                                                                     )
                                                                     )
                                Defendant                            )

                                                  SUMMONS IN A CRIMINAL CASE

          YOU ARE SUMMONED to appear before the United States district court at the time, date, and place set forth
  below to answer to one or more offenses or violations based on the following document filed with the court:

  ✔ Indictment
  ’                          ’ Superseding Indictment        ’ Information ’ Superseding Information                       ’ Complaint
  ’ Probation Violation Petition            ’ Supervised Release Violation Petition ’ Violation Notice               ’ Order of Court

           United States District Court
  Place:                                                                           Courtroom No.: 100
           2146 - 27th Avenue
           Council Bluffs, IA 51501                                                Date and Time: 09/14/2023 1:00 pm

 This offense is briefly described as follows:                 This summons orders you to appear before the U.S. District
  18:656 - Embezzelment by a bank officer                      Court. At that time, you are required to be present with an
                                                               attorney. If you cannot afford an attorney, please call the
                                                               Clerk's Office at 712-890-2087.

                                                                                                          SUMMONS ISSUED:


                                                                                                          JOHN S. COURTER, Clerk


                                                                                                          By:
                                                                                                                ______________________

                     08/22/2023
                                                                                                                        DEPUTY CLERK

  Date:
                                                                                          Issuing officer’s signature
                                                                                 Ross A. Walters, US Magistrate Judge
                                                                                           Printed name and title



  I declare under penalty of perjury that I have:

  ’ Executed and returned this summons                           ’ Returned this summons unexecuted



  Date:
                                                                                              Server’s signature
NOTE: Upon receipt of this document, you
are requested to call the U.S. Probation                                                   Printed name and title
Office at 515-284-6207 to schedule a bond
review.
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  Case No. 1:23-cr-00050
                                This second page contains personal identifiers and therefore should
                                      not be filed in court with the summons unless under seal.
                                                       (Not for Public Disclosure)

                                                         INFORMATION FOR SERVICE
Name of defendant/offender:             MacKenzie Ann Meggison
Last known residence:


Usual place of abode (if different from residence address):


If the defendant is an organization, name(s) and address(es) of officer(s) or agent(s) legally authorized to receive service of
process:


If the defendant is an organization, last known address within the district or principal place of business elsewhere in the
United States:


                                                            PROOF OF SERVICE
This summons was received by me on (date)                                             .

          ’ I personally served the summons on this defendant                                                                 at
          (place)                                                       on (date)                                  ; or
          ’ On (date)                                 I left the summons at the individual’s residence or usual place of abode
          with (name)                                                 , a person of suitable age and discretion who resides
          there, and I mailed a copy to the individual’s last known address; or
          ’ I delivered a copy of the summons to (name of individual)                                                         ,
          who is authorized to receive service of process on behalf of (name of organization)
                                                                       on (date)                           and I mailed a copy to
          the organizations’s last known address within the district or to its principal place of business elsewhere in the
          United States; or
          ’ The summons was returned unexecuted because:
                                                                                                                              .

I declare under penalty of perjury that this information is true.


Date returned:
                                                                                            Server’s signature



                                                                                          Printed name and title


Remarks:
